                                                                              027,21'(1,('



                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

UNITED STATES OF AMERICA                       )
                                               )
Vs.                                            )               No. 3:13-00097-22
                                               )
SAMMIE LANETTE CRUTCHER                        )               Chief Judge Kevin H. Sharp
                                               )



                        MOTION TO CHANGE DATE OF SENTENCING

        Comes now the Defendant, Sammie Lanette Crutcher, by and through her undersigned

counsel, Bob Lynch, Jr., and pursuant to the Court’s granting her motion for leave to file a

motion to change date of sentencing hearing (see D.E. 1048), the Defendant moves to reschedule

her sentencing for the reasons set forth in the sealed Affidavit of Bob Lynch, Jr. (See D.E.

#1047).

        In light of the Affidavit filed under seal, Defendant’s counsel feels it is necessary to

inform the Court that on today’s date, the Defendant was telephoned by her physician’s office

and informed that the results of her monthly blood test, a sample which she provided yesterday,

had come back with a low potassium reading that requires an immediate blood transfusion.

Although the Defendant’s motion to change date of sentencing is not based on a medical reason,

undersigned counsel feels compelled to inform the Court of this new development in light of the

history of this case.




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